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                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION


 MICHAELA M., by and through her next friend,
 KELLY M., et al., individually and on behalf of all
 others similarly situated,
                                                                CASE NO. 2:24-cv-102
       Plaintiffs,
                                                                CLASS ACTION FOR
 v.                                                             DECLARATORY AND
                                                                INJUNCTIVE RELIEF
 STEPHANIE M. AZAR, in her official capacity as
 Commissioner of the Alabama Medicaid Agency, et
 al.,

       Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff J.H.C., through his mother and next friend Cristi C., hereby provides notice to the

Court that, pursuant to Federal Rule of Civil Procedure 41, he wishes to dismiss his claims against

all Defendants in this action. Because no answer or motion for summary judgment have yet been

filed, J.H.C. is permitted by Federal Rule of Civil Procedure 41(a)(1)(A)(i) to voluntarily dismiss

his claims.

                                      Respectfully submitted,

                                      /s/Shandra M. Hartly      f
                                      Shandra M. Hartly (ASB-1016-N00Q)
                                      J. Carlton Sims
                                      ALABAMA DISABILITIES ADVOCACY PROGRAM
                                      2008 12th Street
                                      Box 870395
                                      Tuscaloosa, AL 35487-0395
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                                      Counsel for Plaintiffs

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been furnished to all

counsel of record by filing with the CM/ECF system on this 9th day of August, 2024.

                                                   /s/Shandra M. Hartly        f
                                                   Shandra M. Hartly




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